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     7
                              UNITED STATES DISTRICT COURT
     8
                            CENTRAL DISTRICT OF CALIFORNIA
     9

    10

    11

    12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
         INC., a California Corporation;
    13                                            NEMAN BROTHERS & ASSOC.,
    14             Plaintiff/Counter-Defendant,   INC.’S RESPONSE TO INTERFOCUS’
                                                  STATEMENTS OF DISPUTED FACTS
    15             vs.                            AND ADDITIONAL FACTS
    16
         INTERFOCUS, INC., a California
    17   Corporation, et al.,                     Date: August 23, 2021
                    Defendant/Counter-Claimant    Time: 10 a.m.
    18                                            Courtroom 8D
    19                                            Honorable Judge Christina A. Snyder

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                                      - 1-
            NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’
              STATEMENTS OF DISPUTED FACTS AND ADDITIONAL FACTS
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     1         NEMAN BROHTERS hereby submits its responses to Interfocus’ Statement of
     2 Genuine Disputes of Genuine Material Fact as follows:

     3

     4          Neman Brothers’ Undisputed Facts                   Controverting Facts and Evidence

     5
         1.   Neman Brothers is a Los Angeles-based Interfocus’ Response
     6        textile converter selling fabrics to the         Neman Brothers is a California company
     7        garment manufacturers that                       that has filed almost a hundred copyright
     8        manufacture garments out of our                  infringement actions, and whose conduct
     9        fabrics, to be sold to the retailer              resembles that of a “copyright troll.”
    10        businesses. Neman Brothers generates             Motion Declaration of Mark S. Lee [“Lee
    11        business by marketing its line of                Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;

    12        designs to its customers, who will               Malibu Media, L.L.C. v. Doe, 2015 WL

    13
              purchase Neman Brothers’ design-                 4092417, *2 (S.D.N.Y. July 6, 2015).
              oriented fabric to be created into
    14
              clothing and sold at retail stores               Neman Brothers’ Response
    15
              nationwide. Declaration of Yoel Neman Interfocus failed to present proper evidence.
    16
              (“Neman Decl.”) ⁋4.                              Objection. Irrelevant. Lack of foundation,
    17
                                                               mischaracterization
    18

    19   2.   As the fabric wholesale industry is very         Interfocus’ Response

    20        competitive as to the qualities and the          Undisputed but irrelevant.

    21        pricing, one major way of enhancing

    22        the competitiveness is to develop
                                                               Neman Brothers’ Response
    23        unique designs to be printed upon the
                                                               It is relevant for a factual background.
    24        fabric, which would make the fabrics

    25        more attractive, unique and

    26        competitive. Therefore, having original

    27        and proprietary artwork is critical to

    28
                                                         -2-
              NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’
                STATEMENTS OF DISPUTED FACTS AND ADDITIONAL FACTS
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     1
                Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
     2
              Neman Brothers’ ability to compete in
     3
              the marketplace, and it invests heavily
     4
              in its design team and its proprietary
     5
              line of design. Neman Decl. ⁋5.
     6

     7   3.   Neman Brothers either internally            Interfocus’ Response
     8        creates, or purchases the ownership         Undisputed but irrelevant
     9        from design studios, two-dimensional
    10        works of art for use on textiles which
    11        Neman Brothers customers use to make        Plaintiff’s Response
    12        garments to be sold to retail businesses.   It is relevant for a factual background.
    13        Neman Decl. ⁋6.

    14   4.   Unauthorized use of Neman Brothers'         Interfocus’ Response
    15        designs undermines its competitive          Neman Brothers is a California company
    16        advantage in a highly competitive           that has filed almost a hundred copyright
    17        industry. Therefore, for protection of      infringement actions, and whose conduct
    18        the designs, Neman Brothers routinely       resembles that of a “copyright troll.”

    19                                                    Motion Declaration of Mark S. Lee [“Lee
              registers new artworks as a collection
    20                                                    Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;
              for copyrights with the U.S. Copyright
                                                          Malibu Media, L.L.C. v. Doe, 2015 WL
    21        Office before introducing them to the
                                                          409241 7, *2 (S.D.N.Y. July 6, 2015).
    22        market. Neman Decl. ⁋7.
    23
                                                          Plaintiff’s Response
    24
                                                          Objection. Irrelevant. Lack of foundation,
    25
                                                          mischaracterization
    26

    27
         5.   Unfortunately, as there are many            Interfocus’ Response
    28
                                           -3-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                        DISPUTED FACTS AND ADDITIONAL FACTS
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     1
                Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
     2
              businesses selling illegal copies, some     Neman Brothers is a California company
     3
              willful infringers and some innocent        that has filed almost a hundred copyright
     4
              infringers, Neman Brothers get to find      infringement actions, and whose conduct
     5
              many illegal copies, and for protection     resembles that of a “copyright troll.”
     6
              of its copyrights, has had to file          Motion Declaration of Mark S. Lee [“Lee
     7
              numerous cases when the parties could       Decl.”] ¶ 2 and Ex. 1, Dkt. No. 35-1;
     8
              not settle the matter prior to filing the   Malibu Media, L.L.C. v. Doe, 2015 WL
     9        actions. Most of the cases settled. In      4092417, *2 (S.D.N.Y. July 6, 2015)..
    10        none of the settlement agreements in
    11        those cases, Neman Brothers never
    12        agreed the defendants’ liability for
                                                          Neman Brothers’ Response
    13        future infringements would be
                                                          Objection. Irrelevant. Lack of foundation,
    14        completely released as long as the          mischaracterization
    15        defendants remove the future infringing

    16        garments off their selves or website
              because it would be like giving a
    17
              permanent unlimited license for free
    18
              unless the defendants pay fair amount
    19
              in return for such quasi-license. Neman
    20
              Decl. ⁋7.
    21

    22   6.   Neman Brothers pays companies that          Interfocus’ Response

    23        perform printing services to print fabric   Undisputed but irrelevant.

    24        bearing Neman Brothers’ exclusive
              designs. Neman Brothers then sells that     Plaintiff’s Response
    25
              fabric to its customer base, which is       It is relevant for a factual background.
    26

    27        composed mainly of companies that

    28
                                           -4-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                        DISPUTED FACTS AND ADDITIONAL FACTS
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     1
                Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
     2
              make and sell garments to retailers.
     3
              Neman Decl. ⁋8.
     4

     5   7.   Neman Brothers, whenever introducing        Interfocus’ Response
     6        new designs, make sure its vendors and      Undisputed but irrelevant.
     7        customers understand that Neman
     8        Brothers’ designs are proprietary work
     9        copyright registered. Neman Brothers’       Plaintiff’s Response

    10                                                    It is relevant for a factual background.
              vendors agree to not print or sell fabric
    11        bearing Neman Brothers’ designs
    12        unless specifically authorized by
    13        Neman Brothers. Neman Decl. ⁋9.
    14
         8.   Neman Brothers is the owner of two-         Interfocus’ Response
    15
              dimensional artworks called NB161106        The originality and protectability of this
    16
              (“Subject Design 1”), NB170268              copyright is disputed because the subject
    17
              (“Subject Design 2”) and NB180228           designs are very similar to independently
    18
              (“Subject Design 3”) which are at issue     created pre-existing designs that are widely
    19
              in this case. Neman Decl. ⁋10.              available in the Chinese market, where the
    20
                                                          products at issue were produced by
    21
                                                          independent vendors. (Opp. Lee Decl. ¶ 3
    22
                                                          and Exs. 1 and 2.) Additional discovery
    23
                                                          could, uncover evidence that the fabric
    24
                                                          patterns used to create the garments
    25
                                                          InterFocus sold were created independently
    26
                                                          of the patterns in which Neman Brothers
    27
                                                          claims copyright by someone else, or that
    28
                                           -5-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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     1
              Neman Brothers’ Undisputed Facts       Controverting Facts and Evidence
     2
                                                 the fabric patterns used by InterFocus’
     3
                                                 Chinese third party vendors were acquired
     4
                                                 from the same fabric manufacturer from
     5
                                                 whom Neman Brothers acquired its alleged
     6
                                                 U.S. copyrights, or that the designs at issue
     7
                                                 originated with another manufacturer from
     8
                                                 whom Neman Brothers’ assignor copied it,
     9
                                                 or other facts that could provide defenses to
    10
                                                 the present copyright infringement claims.
    11
                                                 (Opp. Lee Decl. ¶ 4.) InterFocus is
    12
                                                 attempting to gather this information now,
    13
                                                 but due to the difficulties and uncertainties
    14
                                                 of conducting international discovery in
    15
                                                 China, it has not yet succeeded in obtaining
    16
                                                 it. (Opp. Lee Decl. ¶¶ 6-7 6-7; Opp. Le
    17
                                                 Decl. ¶ 3.) Neman Brothers has also
    18
                                                 admitted that it manufactured and sold its
    19
                                                 copyrighted designs in China (Declaration
    20
                                                 of Yoel Neman ¶14, Docket No. 42-1), and
    21
                                                 thus InterFocus’ third-party vendors may
    22
                                                 have purchased the fabric designs at issue
    23
                                                 from authorized vendors and it therefore
    24
                                                 may not be liable under the first sale
    25
                                                 doctrine on this basis. InterFocus should be
    26
                                                 permitted to conduct further investigation
    27
                                                 and discovery on these issues pursuant to
    28
                                           -6-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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     1
                Neman Brothers’ Undisputed Facts          Controverting Facts and Evidence
     2
                                                      Fed. R. Civ. Proc 56(d).
     3

     4
                                                      Plaintiff’s Response
     5
                                                      Objection. Assumes facts not in evidence /
     6
                                                      Lack of foundation (there is no evidence or
     7
                                                      foundation for the conclusion that there are
     8
                                                      independently created preexisting designs at
     9
                                                      all. The side by side comparison also reveals
    10
                                                      the purported similar designs are not similar
    11
                                                      with the Subject Designs.) / speculation
    12
                                                      (Interfocus has no idea about exactly what it
    13
                                                      is to find, why it could not obtain it to this
    14
                                                      time, what diligent efforts it used to find it
    15
                                                      throughout the whole year after receiving
    16
                                                      Plaintiff’s cease and desist letter, and when
    17
                                                      Interfocus is to find it. It merely wishes it
    18
                                                      could find something with additional
    19
                                                      discovery.)
    20
                                                      Interfocus presents only assumed facts with
    21
                                                      no foundation, and speculations, which fails
    22
                                                      to dispute any facts presented by Plaintiff.
    23

    24   9.   The Subject Design 1 was registered     Interfocus’ Response
    25        with the United States Copyright Office Same as Interfocus’ response about
    26        on January 13, 2017, and allocated      paragraph 8 hereinabove.
    27        Registration VAu-1-304-334. Neman
    28
                                           -7-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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     1
                Neman Brothers’ Undisputed Facts           Controverting Facts and Evidence
     2
              Decl. ⁋11 - Exhibit 1 and 2.             Plaintiff’s Response
     3
                                                       Same as Neman Brothers’ Response about
     4
                                                       Paragraph 8 hereinabove.
     5

     6 10. The Subject Design 2 was registered         Interfocus’ Response
     7        with the United States Copyright Office Same as Interfocus’ response about
     8        on March 3, 2017, and allocated          paragraph 8 hereinabove.
     9        Registration VAu-1-317-742. Neman
    10        Decl. ⁋12 - Exhibit 3 and 4.             Plaintiff’s Response
    11                                                 Same as Neman Brothers’ Response about
    12                                                 Paragraph 8 hereinabove.
    13
         11. The Subject Design 3 was registered       Interfocus’ Response
    14
              with the United States Copyright Office Same as Interfocus’ response about
    15
              on April 30, 2018, and allocated         paragraph 8 hereinabove.
    16
              Registration VAu-1-330-970. Neman
    17        Decl. ⁋13 - Exhibit 5 and 6.             Plaintiff’s Response
    18
                                                       Same as Neman Brothers’ Response about
    19
                                                       Paragraph 8 hereinabove.
    20

    21 12. After the registrations of the new          Interfocus’ Response

    22        designs including the Subject Designs,   The originality and protectability of this

    23        Neman Brothers provided samples in       copyright is disputed because InterFocus is
              the forms of swatch (a small piece of    informed and believes they are very similar
    24
              fabric), hanger (fabric sample with      to independently created pre-existing
    25
              headers), and CAD (a piece of paper
    26                                                 designs that are widely available in the
              having the design printed upon) to the
    27                                                 Chinese market, where the products at issue
              customers, who are primarily garment
    28
                                           -8-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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     1
              Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
     2
            manufacturers, wholesalers and/or           were produced by independent vendors.
     3
            importers either located in, or using the   (Opp. Lee Decl. ¶ 3 and Exhs. 1 and 2.)
     4
            vendors in, fashion districts in Los        Additional discovery could, for example,
     5
            Angeles, Shenzhen, Foshan,                  uncover evidence that the fabric patterns
     6
            Guangzhou, and Shaoxing cities where        used to create the garments InterFocus sold
     7
            most of factories and mills are located.
                                                        were created independently of the patterns
     8
            Neman Decl. ⁋14.
                                                        in which Neman Brothers claims copyright
     9
                                                        by someone else, or that the fabric patterns
    10
                                                        used by InterFocus’ Chinese third party
    11
                                                        vendors were acquired from the same fabric
    12
                                                        manufacturer from whom Neman Brothers
    13
                                                        acquired its alleged U.S. copyrights, or that
    14
                                                        the designs at issue originated with another
    15
                                                        manufacturer from whom Neman Brothers’
    16
                                                        assignor copied it, or other facts that could
    17
                                                        provide defenses to the present copyright
    18
                                                        infringement claims. (Opp. Lee Decl. ¶ 4.)
    19
                                                        Neman Brothers has also admitted that it
    20
                                                        manufactured and sold its copyrighted
    21
                                                        designs in China (Declaration of Yoel
    22
                                                        Neman ¶14, Docket No. 42-1), and thus
    23
                                                        InterFocus’ third-party vendors may have
    24
                                                        purchased the fabric designs at issue from
    25
                                                        authorized vendors and it therefore may not
    26
                                                        be liable under the first sale doctrine on this
    27
                                                        basis. InterFocus is attempting to gather this
    28
                                           -9-
         NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts             Controverting Facts and Evidence
  2
                                                     information now, but due to the difficulties
  3
                                                     and uncertainties of conducting international
  4
                                                     discovery in China, it has not yet succeeded
  5
                                                     in obtaining it. (Opp. Lee Decl. ¶¶ 6-7; Opp.
  6
                                                     Le Decl. ¶ 3.) InterFocus should be
  7
                                                     permitted to conduct further investigation
  8
                                                     and discovery on these issues pursuant to
  9
                                                     Fed. R. Civ. Proc 56(d).
 10

 11
                                                     Plaintiff’s Response
 12
                                                     Same as the Plaintiff’s Response about
 13
                                                     Paragraph 8 hereinabove. In addition,
 14
                                                     speculation. (Interfocus admits it has no
 15
                                                     knowledge or evidence other than
 16
                                                     information and belief.)
 17

 18 13. Neman Brothers on a constant basis           Interfocus’ Response
 19      widely circulated the samples, and sold     Undisputed but irrelevant.
 20      the fabrics, bearing the Subject Designs.
 21      Neman Decl. ⁋14.                            Plaintiff’s Response

 22                                                  Relevant as to wide dissemination for access

 23                                                  as the opportunity to view.

 24 14. While Neman Brothers give out                Interfocus’ Response
 25      swatches, hangers and CADs as               Undisputed but irrelevant.
 26      samples for free to potential customers,
                                                     Plaintiff’s Response
 27      in the case customers order a few yards,
                                                     Relevant as to wide dissemination for access
 28                                                  as the opportunity to view.
                                        -10-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
         typically 1-5 yards, in order to make
  3
         their garment samples, Neman Brothers
  4
         charge more or less of $5 dollars per
  5
         yard, depending on the quantity and the
  6
         fabric type. Neman Brothers also
  7
         provide samples using multiple
  8
         different colorways for each design.
  9
         Neman Decl. ⁋14 - Exhibit 7.
 10

 11 15. As shown in the swatch sheet, Neman         Interfocus’ Response
 12      Brothers creates multiple style numbers    Undisputed but irrelevant.
 13      based on kind of fabric, colorways, and
 14      the design, which is to be used for        Plaintiff’s Response
 15      communications with customers and          Relevant as to wide dissemination for access

 16      vendors. For Subject Design 1, Neman       as the opportunity to view.

 17      Brothers used 20335 as part of the style
         numbers. While other part of the style
 18
         numbers may change depending upon
 19
         the fabric type and the colorways,
 20
         20335 would be used to specify the
 21
         design on the fabric would be the
 22
         Subject Design 1. Neman Decl. ⁋15.
 23

 24 16. Neman Brothers sales history records,       Interfocus’ Response
         maintained in the MOD2, a sale record      Undisputed but Irrelevant
 25

 26      keeping system, show each sale of
         fabrics bearing the Subject Design 1,      Plaintiff’s Response
 27
                                                    Relevant as to wide dissemination, as well
 28
                                        -11-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
            Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2
          identified as “20335”, to customers in       as the lost profits and the statutory damages.
  3
          the amount of about 143,048 yards for 2
  4
          years since the registration in 2017 until
  5
          early 2019, which typically makes
  6
          70,000 to 140,000 garments to be sold
  7
          through retailers including national
  8
          retail stores such as Rainbow, Macy’s
  9
          and other online stores. For example,
 10
          Byer California is one of the biggest
 11
          garment manufacturers in the U.S.
 12
          selling the garments to the national
 13
          retail chains such as Kohl’s, Macy’s,
 14
          etc. and actually used on multiple
 15
          occasions in the years of 2017-2019 a
 16
          factory located in Shaoxing City to
 17
          make garments out of the Neman
 18
          Brother’s fabrics. Neman Decl. ⁋15;
 19
          Exhibit 8.
 20

 21 17. Due to Interfocus’ infringing activities       Interfocus’ Response
 22       in 2019 and 2020 of displaying and           An unsupported conclusion based on no
 23       selling the Infringing Garments on its       facts, and preposterous because InterFocus’
 24       website, from the second half of 2019        total profits from all sales of disputed
 25       and until the present, Neman Brothers        designs in this action was less than $1000.

 26       did not receive the orders for the fabrics Opp. Le Decl. ⁋ 5.

 27       bearing the Subject Design 1. Given
          Neman Brothers typically sells the           Plaintiff’s Response
 28
                                        -12-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
            Neman Brothers’ Undisputed Facts             Controverting Facts and Evidence
  2
         fabrics for more or less of $3 per yard,    Relevant as to wide dissemination, as well
  3
         its loss of sale from the infringement      as the lost profits and the statutory damages.
  4
         amounts to $214,572 per year. At the        In this case, Interfocus produced only a self-
  5
         rate of 30% margin, Neman Brothers’         serving chart made after receiving the cease
  6
         typical margin ratio, it is about $71,524   and desist letter in September 2020, in
  7
         as lost profit per year, as to Subject
                                                     anticipation of a litigation, which is nothing
  8
         Design 1. Therefore, after Interfocus
                                                     but a hearsay. In response to the
  9      infringement, Neman Brothers lost
                                                     interrogatories asking for accounting the
 10      $143,048 profits for the years of 2020
                                                     total sales, earnings and costs, Interrogatory
 11      and 2021. Neman Decl. ⁋15.
                                                     stated it would produce charts. Exhibit 42,
 12
                                                     Responses to Interrogatories 11 and 12.
 13
                                                     Interfocus never produced any real business
 14
                                                     records, such as purchase order, invoice, or
 15
                                                     sales reports from the sales record keeping
 16
                                                     system. Jeong Decl. ⁋42. A defendant’s
 17
                                                     refusal to state the volume and profits
 18
                                                     arising from alleged infringing activities
 19
                                                     during discovery supports a higher amount
 20
                                                     of statutory damages. See Dive N’Surf, Inc.
 21
                                                     v. Anselowitz, 834 F. Supp. 379, 383 (M.D.
 22
                                                     Fla 1993) (awarding maximum statutory
 23
                                                     damages to defendants who refused to
 24
                                                     provide sales information).
 25

 26
                                                     Objection. Lack of foundation, hearsay,
 27
                                                     document speaks for itself. (while Le
 28
                                        -13-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
                                                     admitted in her declaration that she had and
  3
                                                     reviewed relevant business records,
  4
                                                     Interfocus never produced them in
  5
                                                     discovery or presented with its opposition at
  6
                                                     all. With no such records, the conclusion for
  7
                                                     $1,000 profit is only a hearsay lacking
  8
                                                     foundation.)
  9

 10
      18. Neman Brothers’ swatch sheet showing Interfocus’ Response
           multiple different colorways of the       Undisputed but irrelevant.
 11
           Subject Design 2. For Subject Design 2,
 12
           Neman Brothers used 20419 as part of      Plaintiff’s Response
 13
           the style numbers. Neman Decl. ⁋17 -      Relevant to the issue of wide dissemination
 14
                                                     for access.
           Exhibit 9.
 15

 16

 17
      19. Neman Brothers sales history records,      Interfocus’ Response
           maintained in the MOD2, a sale record     Undisputed but irrelevant.
 18
           keeping system, show each sale of
 19
           fabrics bearing the Subject Design 2,     Plaintiff’s Response
 20
           identified as “20419”, to customers in    Relevant to the issue of wide dissemination
 21
                                                     for access.
           the amount of about 48,870 yards for 2
 22
           years mainly since the registration in
 23
           2017 until early 2019. Neman Brothers
 24
           could sell some fabrics in 2020 and
 25
           2021 too, but the total amount
 26
           compared to prior years, was minimal.
 27
           Neman Decl. ⁋18 - Exhibit 10.
 28
                                        -14-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2

  3
      20. Due to Interfocus’ infringing activities      Interfocus’ Response
           in 2019 and 2020 of displaying and           An unsupported conclusion based on no
  4
           selling the Infringing Garments on its       facts, and preposterous because InterFocus’
  5
           website, from the second half of 2019        total profits from all sales of the disputed
  6
           and until the present, Neman Brothers        designs in this action was less than $1000.
  7
           did not receive, except a few, the orders Opp. Le Decl. ⁋ 5.
  8
           for the fabrics bearing the Subject
  9        Design 2. Given Neman Brothers               Plaintiff’s Response
 10        typically sells the fabrics for more or      Relevant to the issue of wide dissemination
 11        less of $3 per yard, its loss of sale from   for access, lost profits and statutory
 12        the infringement amounts to $73,305          damages.
 13        per year. At the rate of 30% margin, it
 14        is about $21,991.5 as lost profit per

 15        year, as to Subject Design 2. Therefore,

 16        after Interfocus infringement, Neman
           Brothers lost $43,983 profits for the
 17
           years of 2020 and 2021. Neman Decl.
 18
           ⁋18 – Exhibit 10.
 19

 20 21. Exhibit 11 is a true and correct copy of        Interfocus’ Response
 21        Neman Brothers’ swatch sheet showing         Undisputed but irrelevant.

 22        multiple different colorways of the
 23        Subject Design 3. For Subject Design 3, Plaintiff’s Response
           Neman Brothers used 21060 as part of    Relevant to the issue of wide dissemination
 24
                                                        for access.
 25        the style numbers. While other part of
 26        the style numbers may change
 27        depending upon the fabric type and the
 28
                                        -15-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
            Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
         colorways, 21060 would be used to
  3
         specify the design on the fabric would
  4
         be the Subject Design 3. Neman Decl.
  5
         ⁋19 – Exhibit 11.
  6

  7 22. Neman Brothers sales history records,       Interfocus’ Response
  8      maintained in the MOD2, our sales          Undisputed but irrelevant.
  9      record keeping system, show each sale
 10      of fabrics bearing the Subject Design 3,   Plaintiff’s Response
 11      identified as “21060”, to customers in     Relevant to the issue of wide dissemination

 12                                                 for access, lost profits and statutory
         the amount of about 16,247 yards for 2
 13                                                 damages.
         years since the registration in early
 14      2018 until 2019. Due to Interfocus’
 15      infringing activities in 2019 and 2020
 16      of displaying and selling the Infringing
 17      Garments on its website, from the
 18      second half of 2019 and until the
 19      present, Neman Brothers received only
 20      a few orders for the fabrics bearing the
 21      Subject Design 3. Given Neman
 22      Brothers typically sells the fabrics for
 23      more or less of $3 per yard, its loss of
 24      sale from the infringement amounts to
 25      $24,370.5 per year. At the rate of 30%
 26      margin, it is about $7,311.15 as lost
 27      profit per year, as to Subject Design 3.
 28
                                        -16-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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                                  #:980



  1
            Neman Brothers’ Undisputed Facts           Controverting Facts and Evidence
  2
         Neman Decl. ⁋20 - Exhibit 12.
  3

  4 23. In 2019, Interfocus infringed upon         Interfocus’ Response
  5      Neman Brothers’ copyrights on Subject     Undisputed but irrelevant, because 1)
  6      Design 1, by displaying and selling the   Neman Brothers already released InterFocus
  7      Maternity Dress (“Prior Infringing        for such claims in a previous settlement
  8      Garment 1”) and shown in Exhibit 13.      agreement. Motion Le Decl. ¶¶ 2-4, Exs 2

  9                                                and 3, Dkt. No. 35-1, 4 and 5.
         Submitted herewith as Exhibit 13 is a
 10      copy of the screenshots from
                                                   Neman Brothers’ Response
 11      Interfocus’ website (patpat.com) and
                                                   Relevant as to the issue of knowledge and
 12      the pictures of the actual garment.
                                                   recklessness for willful infringement in this
 13      Therefore, Neman Brothers sued
                                                   case. Section 6 of the prior settlement
 14      Interfocus in 2019 (case no. 2:19-cv-
                                                   agreement clarified the release does not
 15      10112) (“Prior Case”). Neman Decl.        apply to “past sale” of the prior accused
 16      ⁋21 – Exhibit 12.                         garments which does not apply to the new
 17                                                infringing garment 1 produced and sold
 18                                                after the settlement. the release was given
 19                                                “to the extent it relates to the past sale of
 20                                                the garments by InterFocus, shown in
 21                                                Exhibits C-1 through C-7 attached to the
 22                                                complaint (Docket No. 1) in the Action filed

 23                                                on 11/26/2019.” Defendant’s Redacted

 24                                                Exhibit 2, Section 7. The prior settlement
                                                   agreement was executed as of March 2020.
 25
                                                   Defendant’s Redacted Exhibit 2, Section 7.
 26
                                                   Therefore, the question is whether the
 27
                                                   Infringing Garments sold after March 2020.
 28
                                        -17-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
            Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
                                                    As admitted in Interfocus counsel’s letter in
  3
                                                    October 2020, the said garments were
  4
                                                    uploaded for sale after March 2020 and until
  5
                                                    September 2020: Infringing Garment 1
  6
                                                    (both navy and red) on July 1, 2020,
  7
                                                    Infringing Garment 2 on June 19, 2020.
  8
                                                    Exhibit 33, p.2-3. As discussed above, the
  9                                                 Infringing Garment 3 was on the Interfocus
 10                                                 Website as of October 2020 so that Neman
 11                                                 Brothers could actually purchase the
 12                                                 garment. Exhibit 22, p.2. Further, one of the
 13                                                 caretags showing the production
 14                                                 information indicated “Made in China

 15                                                 202008”. Accordingly, the pending claims

 16                                                 in this case are not barred by the release that
                                                    was applicable to the sale in or before
 17
                                                    March 2020.
 18

 19
                                                    Objection. A document speaks for itself.
 20
                                                    Mischaracterization.
 21

 22 24. Interfocus also displayed and sold Baby     Interfocus’ Response

 23       Floral Shirt and Dress (“Prior Infringing Undisputed but irrelevant, because 1) Same
          Garment 2”) The said garments were        as Interfocus Response to Fact No. 23; and
 24
          also litigated in the Prior Case. Neman   2) Neman Brothers agreed InterFocus could
 25
          Decl. ⁋22 - Exhibit 14.                   “cure” that alleged infringement by stopping
 26
                                                    sales of the allegedly infringing product on
 27
                                                    wit website within 7 days of receiving
 28
                                        -18-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts          Controverting Facts and Evidence
  2
                                                  notice in that previous settlement
  3
                                                  agreement, and InterFocus effected that
  4
                                                  cure. Motion Le Decl. ¶¶ 2-4, 11-12, 14,
  5
                                                  Exs 2 and 3, Dkt. No. 35-1, 4 and 5.
  6

  7
                                                  Neman Brothers’ Response
  8
                                                  1) Please refer to Neman Brothers’ response
  9                                               as to Fact No. 23.
 10                                               2) Interfocus’ argument for “cure” is based
 11                                               on its own self-serving mischaracterization,
 12                                               and misstatement and/or omission of the
 13                                               relevant facts in evidence. In order to avoid
 14                                               putting extensive amount of facts in one box

 15                                               to dispute this, Neman Brothers presents the

 16                                               misstated and omitted Neman’s additional
                                                  facts (Fact No. 21-52) stated in Neman’s
 17
                                                  Statement of Controverted Facts (Dkt 43-
 18
                                                  1). Instead of repeating the same lengthy
 19
                                                  statements in multiple pages, Plaintiff
 20
                                                  hereby incorporate them.
 21

 22
                                                  Objection: a document speaks for itself.
 23
        The Prior Case settled and the parties    Interfocus’ Response
 24 25.
          executed the settlement agreement       Undisputed. Motion Le Decl. ¶¶ 2-4, Exs 2
 25
          (“Prior Settlement Agreement”) as       and 3. Dkt. No. 35-1, 4 and 5.
 26
          shown in Neman Decl. ⁋23 –
 27
          Interfocus’ Sealed Exhibit 3 in March
 28
                                        -19-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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                                  #:983



  1
            Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
  2
          2020 (Docket no. 39).
  3

  4 26. Not long after the Prior Settlement, on       Interfocus’ Response
  5       September 4, 2020, I found Interfocus       Undisputed but irrelevant, because Neman
  6       again displayed and sold the same           Brothers agreed InterFocus could “cure”
  7       Maternity Dress (“Infringing Garment        that alleged infringement by stopping sales
  8       1”) in “navy” and “red” colors as shown of the allegedly infringing product on wit

  9       in Exhibits 15 to 18. I ordered and         website within 7 days of receiving notice in

 10       bought the Infringing Garment 1.            a previous settlement agreement, and
          Submitted herewith as Exhibits 15           InterFocus effected that cure as permitted by
 11
          through 17 are copies of the screenshots the prior settlement agreement. Motion Le
 12
          from Interfocus’ website (patpat.com)       Decl. ¶¶ 2-4, 11-12, 14, Exs 2 and 3, Dkt.
 13
          displaying the Infringing Garment 1.        No. 35-1, 4 and 5.
 14
          The pictures of Infringing Garment 1
 15
          are also submitted as Exhibits 16 and       Neman Brothers’ Response
 16
          18. While the dress in the picture of the   Interfocus’ argument for “cure” is based on
 17       dress on the screenshot in the Prior        its own self-serving mischaracterization,
 18       Case had short sleeves, the actual          and misstatement and/or omission of the
 19       garment I received was sleeveless.          relevant facts in evidence. In order to avoid
 20       Exhibit 13. The Infringing Garment 1 I      putting extensive amount of facts in one box
 21       found and bought also were sleeveless       to dispute this, Neman Brothers presents the
 22       and identical with the dress in the Prior   misstated and omitted Neman’s additional

 23       Case. Neman Decl. ⁋24 – Exhibits 15-        facts (Fact No. 21-52) stated in Neman’s

 24       16.                                         Statement of Controverted Facts (Dkt 43-
                                                      1). Instead of repeating the same lengthy
 25
                                                      statements in multiple pages, Plaintiff
 26
                                                      hereby incorporate them.
 27

 28
                                        -20-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2
                                                     Objection: a document speaks for itself.
  3

  4 27. The care tags of the Prior Infringing        Interfocus’ Response
  5       Garment 1 and the Infringing Garment       Same as Interfocus’ response to Fact No.
  6       1 however, indicated different Stock       26.
  7       Keeping Unit (“SKU”) numbers which

  8       means they were from different batches     Neman Brothers’ Response

  9       of production. They also had different     Same as Neman Brothers’ response to Fact
          Lot Numbers, different fabric substance No. 26.
 10
          ratios (75% cotton and 25% polyester v.
 11
          100% cotton), different labels
 12
          (Interfocus v. Shenzhen YS Garment
 13
          Factory), and different production times
 14
          (201905 v. 202007). As it typically
 15
          takes a couple of months from sampling
 16       to actual production, the production in
 17       July 2020 means Interfocus started the
 18       whole procedure of sampling, ordering,
 19       reviewing, etc. at least from May 2020,
 20       which is less than two months after the
 21       Prior Settlement on March 23, 2020.

 22       Neman Decl. ⁋25 – Exhibit 39.

 23
      28. On September 4, 2020, Neman Brothers Interfocus’ Response
 24       also found Interfocus displayed and        Same as Interfocus’ response to Fact No.
 25       sold Baby Dress (Infringing Garment 2) 26.
 26       which were using the exact same
 27       pattern with the Prior Infringing          Neman Brothers’ Response
 28
                                        -21-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
  2
           Garment 2). Neman Brothers ordered        Same as Neman Brothers’ response to Fact
  3
           and bought the Infringing Garment 2.      No. 26.
  4
           Neman Decl. ⁋26 – Exhibits 19 and 20.
  5

  6 29. The side-by-side comparison of the care Interfocus’ Response

  7        tags of the two show that they also had   Same as Interfocus’ response to Fact No.

  8        different SKU numbers, Lot Numbers,       26.

  9        different fabric substance ratios (100%
           cotton v. 95% cotton and 5% polyester), Neman Brothers’ Response
 10
           different labels (Interfocus v. Foshan    Same as Neman Brothers’ response to Fact
 11
           SCCQ Trading Lt.), and different          No. 26.
 12
           production times (201901 v. 202007).
 13
           Neman Decl. ⁋27 – Exhibit 40.
 14

 15 30. Again, as it typically takes a couple of     Interfocus’ Response

 16        months from sampling to actual            Same as Interfocus’ response to Fact No.
           production, the production in July 2020   26.
 17
           means Interfocus started the whole
 18
           procedure of sampling, ordering,          Neman Brothers’ Response
 19
           reviewing, etc. at least from May 2020,   Same as Neman Brothers’ response to Fact
 20
           which is less than two months after the   No. 26.
 21
           Prior Settlement on March 23, 2020.
 22
           Neman Decl. ⁋27 – Exhibit 39.
 23

 24
      31. In October 2020, I also found another      Interfocus’ Response
           infringing garment called Green Maxi      Same as Interfocus’ response to Fact No.
 25
           Dress (“Infringing Garment 3”). Neman 26.
 26
           Decl. ⁋28 – Exhibits 21 and 22.
 27
                                                     Neman Brothers’ Response
 28
                                        -22-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
                                                     Same as Neman Brothers’ response to Fact
  3
                                                     No. 26.
  4

  5

  6 32. The side-by-side comparisons of the          Interfocus’ Response
  7       Subject Designs and the Infringing         The originality and protectability of this
  8       Garments reveals they are virtually        copyright is disputed because …(Same as
  9       identical in most of the objective details Interfocus’ response about paragraph 8
 10       of the elements forming the designs and hereinabove.)
 11       even arrangements of the elements. The
 12       chance for the two independently           Plaintiff’s Response
 13       created designs to happen to have the      This fact is about similarities, not originality

 14       same elements identical in details and     and protectability.

 15       the same arrangement of those elements In addition, please refer to Neman Brothers’
 16       would be far less than one in a million,   Response about Paragraph 8 hereinabove.

 17       in other words impossible. Neman Decl.
 18       ⁋29 – Exhibits 23-25.
 19
      33. The first page of Exhibit 23 shows most Interfocus’ Response
 20
          of the elements, if not all, on the        The originality and protectability of this
 21
          Infringing Garment 1 are copied from       copyright is disputed because …(Same as
 22       the Subject Design 1. The second page      Interfocus’ response about paragraph 8
 23       shows the major motif (indicated in red    hereinabove.)
 24       circles) having the main elements
 25       arranged in a certain way are identical
                                                     Plaintiff’s Response
 26       while there were some crude efforts to
                                                     This fact is about similarities, not originality
 27       give the appearance of dissimilarity on
                                                     and protectability.
 28
                                        -23-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
  2
         the Infringing Design 1 by taking out a      In addition, please refer to Neman Brothers’
  3
         few small leaves or flowers. Not only        Response about Paragraph 8 hereinabove
  4
         the arrangement, the shapes of the
  5
         flower, flower buds, stems, leaves, and
  6
         color shadings are also the same. These
  7
         are not a combination of generic shapes
  8
         like triangle, circle, square or line, but
  9      about a very detailed hand-drawn and
 10      intricate description of flowers, stems,
 11      leaves, and their arrangement. No
 12      designer would not be able to draw the
 13      design twice in the exact same way in
 14      such details without seeing it and

 15      copying it. This part standing alone

 16      forms an original and protectible
         element, and the Infringing Garment 1
 17
         copied it. Neman Decl. ⁋30 – Exhibit
 18
         23.
 19

 20 34. Even the elements describing small            Interfocus’ Response
 21      flowers, small leaves, and small stems,      The originality and protectability of this
 22      as well as their shapes, shades,             copyright is disputed because …(Same as
 23      locations, colors, directions and            Interfocus’ response about paragraph 8
         arrangements are strikingly identical,       hereinabove.)
 24
         which cannot possibly be a coincidence
 25
         of two independently created design
 26                                                   Plaintiff’s Response
         having such identities in every details.
 27                                                   This fact is about similarities, not originality
         The second and the third pages of
 28
                                        -24-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
  2
          Exhibit 23 also show the remaining          and protectability.
  3
          elements on Infringing Garment 1 were       In addition, please refer to Neman Brothers’
  4
          nothing but the result of flipping or       Response about Paragraph 8 hereinabove
  5
          rotating the elements of the Subject
  6
          Design 1. Neman Decl. ⁋30 – Exhibit
  7
          23.
  8

  9 35. The same is true about the Infringing         Interfocus’ Response

 10       Garment 2. On the first page, the circles The originality and protectability of this

 11       in different colors indicate which parts    copyright is disputed because …(Same as

 12       are corresponding to each other on the      Interfocus’ response about paragraph 8

 13       two. Most of the elements, if not all, on   hereinabove.)

 14       the Infringing Garment 2 are from the

 15       elements of the Subject Design 2.           Plaintiff’s Response
          Neman Decl. ⁋31 – Exhibit 24.               This fact is about similarities, not originality
 16
                                                      and protectability.
 17
                                                      In addition, please refer to Neman Brothers’
 18
                                                      Response about Paragraph 8 hereinabove
 19

 20 36. The second page of Exhibit 24 shows the Interfocus’ Response

 21       biggest element as the main motif, The originality and protectability of this
 22       circled in red on page 1, are identical in copyright is disputed because …(Same as
 23       shapes, arrangements, directions, and Interfocus’ response about paragraph 8
 24       locations while there were some crude hereinabove.)

 25       efforts to give the appearance of

 26       dissimilarity on some leaves or flowers.
                                                      Plaintiff’s Response
          Such also appear to be the result of
 27                                                   This fact is about similarities, not originality
          lowering the printing cost for the
 28
                                        -25-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts             Controverting Facts and Evidence
  2
           garment’s low pricing by simplifying and protectability.
  3
           some details and colors of the elements. In addition, please refer to Neman Brothers’
  4
           Pages 3, 4 and 5 also show the remaining Response about Paragraph 8 hereinabove
  5
           elements used on the Infringing Garment
  6
           2 are nothing but a rotated or flipped
  7
           version of the elements on the Subject
  8
           Design 2. Neman Decl. ⁋32 – Exhibit 24.
  9

 10
      37. The first page of Exhibit 25 again          Interfocus’ Response
           shows the main motifs on the Infringing The originality and protectability of this
 11
           Garment 3 are copies of the elements on copyright is disputed because …(Same as
 12
           the Subject Design 3. The second page Interfocus’ response about paragraph 8
 13
           shows all elements of the main motif       hereinabove.)
 14
           circled in red on the first page are the
 15
           same as the elements of the Subject
                                                      Plaintiff’s Response
 16        Design 3. The third page also shows the
                                                      This fact is about similarities, not originality
 17        remaining elements are in fact a rotated
                                                      and protectability.
 18        or flipped version of the element on
                                                      In addition, please refer to Neman Brothers’
 19        Subject Design 3. Neman Decl. ⁋33 –
                                                      Response about Paragraph 8 hereinabove.
 20        Exhibit 25.
 21
      38. As discussed above, the comparisons of Interfocus’ Response
 22
           the care tags of the Prior Infringing Same as Interfocus’ response to Fact No.
 23        Garments 1 and 2 with the same of the 26.
 24        Infringing Garments 1 and 2 show the
 25        Infringing Garments at issue in this case Neman Brothers’ Response
 26        are not part of the prior production of the Same as Neman Brothers’ response to Fact
 27        Prior Infringing Garments. It was a new No. 26.
 28
                                        -26-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2
           production that happened in July 2020,
  3
           which procedure started from May 2020
  4
           which was less than two months after the
  5
           settlement on March 23, 2020 in the
  6
           Prior Case. Neman Decl. ⁋34 - Exhibits
  7
           39-40.
  8

  9 39. Interfocus failed to present any evidence Interfocus’ Response
           for such rebuttal, rather, the evidence The originality and protectability of this
 10
           below strongly show that NB owns the copyright is disputed because …(Same as
 11
           Subject Design. For example, in Interfocus’ response about paragraph 8
 12
           response to the interrogatories asking hereinabove.)
 13
           about Interfocus’ or its vendor’s
 14
           independent creation and any prior
 15                                                     Plaintiff’s Response
           work, Interfocus stated only “it is
                                                        This fact is about similarities, not originality
 16        informed and believes the designs at
                                                        and protectability.
 17        issue are very similar to independently
                                                        In addition, please refer to Neman Brothers’
 18        created pre-existing designs…” which
                                                        Response about Paragraph 8 hereinabove
 19        has no evidentiary value at all. (emphasis
 20        added). Jeong Decl. ⁋35; Exhibit 42,
 21        Responses to Interrogatories No. 1-5.

 22
      40. Interfocus response to Interrogatory 6        Interfocus’ Response
 23        admits that in the ordinary procedures,      The interrogatory response does not “admit”
 24        Interfocus orders the garments it likes      what Neman Brothers claims its does. Opp.
 25        after it reviews the sample pictures, and    Lee Decl. Ex. 1. Also irrelevant, because
 26        do the quality inspection, and start sales Neman Brothers agreed InterFocus could
 27        of the garments. Jeong Decl. ⁋36;            “cure” the alleged infringement by stopping
 28
                                        -27-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2
           Exhibit 42, Responses to Interrogatory     sales of the allegedly infringing product on
  3
           No. 6.                                     wit website within 7 days of receiving
  4
                                                      notice in a previous settlement agreement,
  5
                                                      and InterFocus effected that cure as
  6
                                                      permitted by the prior settlement agreement.
  7
                                                      Motion Le Decl. ¶¶ 2-4, 11-12, 14, Exs 2
  8
                                                      and 3, Dkt. No. 35-1, 4 and 5.
  9

 10
      41. Interfocus further admitted it controlled Interfocus’ Response
           the display procedure of the garments by This is an unsupported assertion
 11
           stating Interfocus’ vendors do not unsupported by any facts. InterFocus has
 12
           upload the information relating to the made no such admission. Opp. Lee Decl.
 13
           Infringing Garments. Jeong Decl. ⁋37; Ex. 1.
 14
           Exhibit 42, Responses to Interrogatory
 15
           No. 7.                                     Neman Brothers’ Response
 16                                                   Interfocus response to interrogatory No. 6
 17                                                   states “INTERFOCUS will start sales of
 18                                                   such garments by uploading photos of
 19                                                   garments and pricing information onto the
 20                                                   patpat platfom.” Ex. 42.
 21
      42. The above clearly shows Interfocus          Interfocus’ Response
 22
           soon after signing the Prior Settlement    Same as Interfocus’ response to Fact No.
 23                                                   26.
           Agreement on March 23, 2020,
 24
           promptly started the sampling
 25                                                   Neman Brothers’ Response
           procedure, reviewed the samples of the
 26                                                   Same as Neman Brothers’ response to Fact
           Infringing Garments 1 and 2, ordered
 27                                                   No. 26.
           them again as Interfocus liked it in May
 28
                                        -28-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
             Neman Brothers’ Undisputed Facts              Controverting Facts and Evidence
  2
           2020 (Exhibits 39 and 40), uploaded the
  3
           garment pictures with the information
  4
           on the website on July 1, 2020 for
  5
           Infringing Garment 1 and June 19, 2020
  6
           for Infringing Garment 2 and sold them
  7
           until September 16, 2020. Exhibit 33.
  8
           Even worse, it turned out the Interfocus
  9
           continued to sell the Prior Infringing
 10
           Garment 1 and the Prior Infringing
 11
           Garment 2 even after the Prior
 12
           Settlement until September 2020.
 13
           Exhibit 33. Jeong Decl. ⁋38; Exhibits
 14
           33, 39, 40.
 15

 16 43. The above shows it is undisputed soon          Interfocus’ Response
 17        after the settlement of the Prior Case      Same as Interfocus’ response to Fact No.
 18        where the Subject Designs 1 and 2 were 26.
 19        litigated, Interfocus again reviewed,
 20        chose, ordered, uploaded, displayed and Neman Brothers’ Response
 21                                                Same as Neman Brothers’ response to Fact
           sold the Infringing Garments 1 and 2,
 22                                                No. 26.
           which sufficiently establishing copying
 23        after the actual access. Jeong Decl. ⁋39.
 24
      44. Even as to Subject Design 3, Interfocus      Interfocus’ Response
 25
           should be found to be a willful infringer This is a legal argument, not a statement of
 26
           under Unicolors v. Urban Outfitters. In     fact.
 27
           response to the interrogatory asking        It is also disputed and irrelevant, because
 28
                                        -29-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts             Controverting Facts and Evidence
  2
         about preventive measures Interfocus        Neman Brothers entered into a settlement
  3
         has taken, Interfocus stated Interfocus     agreement in which it agreed to give
  4
         takes down the garments after receiving InterFocus “Adequate Notification” and an
  5
         notices, which is not a “preventive”    opportunity to cure this alleged
  6
         measure at all. Interfocus also stated in   infringement within 7 says, but failed to
  7
                                                     give such notice before filing suit herein and
         its response that it requires vendors to
  8
                                                     thereby breached that settlement agreement.
         license its intellectual property to
  9                                                  InterFocus nevertheless cured that alleged
         Interfocus. Again, it at the best means
 10                                                  infringement as permitted by the prior
         only if a vendor has an intellectual
 11                                                  settlement agreement once it learned of
         property, it would have to license it to
 12                                                  Neman Brothers’ claim in its amended
         Interfocus, which has nothing do to
 13                                                  complaint herein, and therefore cannot be
         with reasonable preventive measure          liable on any basis on this claim. Motion
 14
         such as checking on the source of the       Le Decl. ¶¶ 2-4, 11-12, 14, Exs. 2 and 3,
 15
         design on the samples when reviewing        Dkt. No. 35-1, 4 and 5.
 16
         and before making an order. Jeong
 17
         Decl. ⁋40; Exhibit 42, Response to          Neman Brothers’ Response
 18
         Interrogatory No. 18.                       It states the facts that Interfocus failed to
 19
                                                     show it had any reasonable preventive
 20
                                                     measures.
 21
                                                     Interfocus’ argument for “cure” is based on
 22
                                                     its own self-serving mischaracterization,
 23                                                  and misstatement and/or omission of the
 24                                                  relevant facts in evidence. In order to avoid
 25                                                  putting extensive amount of facts in one box
 26                                                  to dispute this, Neman Brothers presents the
 27                                                  misstated and omitted Neman’s additional
 28
                                        -30-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
            Neman Brothers’ Undisputed Facts               Controverting Facts and Evidence
  2
                                                       facts (Fact No. 21-52) stated in Neman’s
  3
                                                       Statement of Controverted Facts (Dkt 43-
  4
                                                       1). Instead of repeating the same lengthy
  5
                                                       statements in multiple pages, Plaintiff
  6
                                                       hereby incorporate them.
  7
                                                       Interfocus did not present any evidence
  8
                                                       showing Neman’s failure to give adequate
  9                                                    notification.
 10

 11                                                    Objection: a document speaks for itself.
 12                                                    Lack of foundation (as to the conclusion for
 13                                                    Neman’s failure to give adequate
 14                                                    notification.)

 15
      45. In the discovery, Interfocus never Interfocus’ Response
 16       produced any evidence showing such Same as Fact No. 44.
 17       reasonable    efforts.   The    sampling
 18       procedure    explained   in     Interfocus Neman Brothers’ Response
 19       responses in fact admits it simply Same as Fact No. 44.
 20       review, like and then order. There is no
 21       checking on copyright issues. Rather,

 22       even after knowing on the copyright

 23       issues, Interfocus would dare to order
          again, and display and sell online again.
 24
          It is exactly what the Nineth Circuit
 25
          Court    called   “willful     blindness”,
 26
          “reckless policy”, and “no attempt to
 27
          check or inquire” into copyright issues.
 28
                                        -31-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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                                  #:995



  1
            Neman Brothers’ Undisputed Facts            Controverting Facts and Evidence
  2
         Jeong Decl. ⁋41; Exhibit 42, Response to
  3
         Interrogatory No. 6.
  4

  5 46. In this case, Interfocus produced only a Interfocus’ Response

  6      self-serving chart made after receiving This is legal argument, not a statement of
  7      the cease and desist letter in September fact, and is irrelevant to Neman Brothers’

  8      2020, in anticipation of a litigation, motion. Further, though irrelevant to this

  9      which is nothing but a hearsay. In motion, InterFocus did produce sales
         response to the interrogatories asking for records.
 10
         accounting the total sales, earnings and
 11
         costs, Interrogatory stated it would Neman Brothers’ Response
 12
         produce    charts.     Interfocus   never This states facts that Interfocus completely
 13
         produced any real business records, such failed to produce business records or other
 14
         as purchase order, invoice, or sales admissible evidence, relevant to the issue of
 15
         reports from the sales record keeping profit amounts, which establishes
 16      system. Jeong Decl. ⁋42; Exhibit 42, Interfocus’ inability to show the less-than-
 17      Responses to Interrogatories 11 and 12.
                                                 $1,000 profit, and the application of
 18
                                                    persuasive case law stating a defendant’s
 19
                                                    refusal to produce evidence regarding the
 20
                                                    volume and profits arising from alleged
 21
                                                    infringing activities during discovery
 22
                                                    entitles copyright plaintiffs to the maximum
 23
                                                    statutory damages without exact proof of the
 24
                                                    measure of damages. See Dive N’Surf, Inc.
 25
                                                    v. Anselowitz, 834 F. Supp. 379, 383 (M.D.
 26
                                                    Fla 1993) - awarding maximum statutory
 27
                                                    damages to defendants who refused to
 28
                                        -32-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
             Neman Brothers’ Undisputed Facts             Controverting Facts and Evidence
  2
                                                      provide sales information)(citing F.W.
  3
                                                      Woolworth Co. v. Contemporary Arts,
  4
                                                      Inc., 344 U.S. 228, 233 - holding that
  5
                                                      statutory damages should not merely
  6
                                                      compel restitution of profit and reparation
  7
                                                      for injury, but should also discourage
  8
                                                      wrongful conduct).
  9

 10

 11

 12

 13       NEMAN BROTHERS’ RESPONSE TO INTERFOCUS’ STATEMENT OF
 14                                        ADDITIONAL FACTS
 15        Interfocus’ Undisputed Fact                       Neman Brothers’ Response
 16   1. Summary judgment previously has         Disputed.
 17   been entered against Neman Brothers        Interfocus’ argument based on the case against
 18   for, inter alia, refiling released         One Step Up (“OSU Matter”) (2:17-cv-6400-
 19   copyright infringement claims. Neman       RGK-SS) is misplaced and off the points of this
 20   Brothers & Assoc., Inc. v. One Step up     case. In the OSU Matter, as the court’s ruling
 21   Ltd., 764 Fed. Appx 624 (9th Cir.          clearly stated the settlement agreement at issue

 22   March 25, 2019)                            provided a release to the OSU to the extent it was

 23                                              specified in Section 2. Submitted herewith as
                                                 Exhibit 38 is a true and correct copy of the
 24
                                                 Ruling on the MSJ in Neman Brothers v. One
 25
                                                 Step Up. The said agreement stated the release
 26
                                                 applies to “all claims that Neman Brothers "may
 27
                                                 have in com1ection with any conduct involving
 28
                                        -33-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
          Interfocus’ Undisputed Fact              Neman Brothers’ Response
  2
                                         the Accused Ga1ments, to the extent such
  3
                                         conduct pe1tains to the goods set forth or
  4                                      described in Section 2 above .... " Therefore, the
  5                                      question was whether the accused garments at
  6                                      issue were part of the 18,400 garments specified
  7                                      in Section 2. In this case, however, the release
  8                                      was given “to the extent it relates to the past
  9                                      sale of the garments by InterFocus, shown in

 10                                      Exhibits C-1 through C-7 attached to the

 11
                                         complaint (Docket No. 1) in the Action filed on
                                         11/26/2019.” The prior settlement agreement was
 12
                                         executed as of March 2020. Therefore, the
 13
                                         question is whether the Infringing Garments sold
 14
                                         after March 2020. As admitted in Interfocus
 15
                                         counsel’s letter in October 2020, the said
 16
                                         garments were uploaded for sale after March
 17
                                         2020 and until September 2020: Infringing
 18                                      Garment 1 (both navy and red) on July 1, 2020,
 19                                      Infringing Garment 2 on June 19, 2020. As
 20                                      discussed above, the Infringing Garment 3 was
 21                                      on the Interfocus Website as of October 2020 so
 22                                      that Neman Brothers could actually purchase the
 23                                      garment. Further, one of the caretags showing the

 24                                      production information indicated “Made in China

 25                                      202008”. Accordingly, the pending claims in this
                                         case are not barred by the release that was
 26
                                         applicable to the sale in or before March 2020.
 27

 28
                                        -34-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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                                  #:998



  1
          Interfocus’ Undisputed Fact                        Neman Brothers’ Response
  2
                                                 Jeong Decl. ⁋32; Exhibit 38, p. 5 of 8; Jeong
  3
                                                 Decl. ⁋33; Exhibit 38, p. 5-6 of 8;
  4                                              Jeong Decl. ⁋34; Defendant’s Redacted Exhibit
  5                                              2, Section 7; Exhibit 33, p.2-3; Exhibit 22, p.2.
  6

  7                                              Objection. Irrelevant.
  8     2. Neman Brothers released               Disputed.
  9   InterFocus from liability for all claims   the release was given “to the extent it relates to

 10   Neman Brothers asserted or could have the past sale of the garments by InterFocus,

 11   asserted in the Previous Action in the     shown in Exhibits C-1 through C-7 attached to
      PSA. PSA §5, Exs. 2 and 3, Dkt. Nos.       the complaint (Docket No. 1) in the Action filed
 12
      35-1, 4 and 5.                             on 11/26/2019.” Defendant’s Redacted Exhibit 2,
 13
                                                 Section 7. The prior settlement agreement was
 14
                                                 executed as of March 2020. Defendant’s
 15
                                                 Redacted Exhibit 2, Section 7. Jeong Decl. II.
 16
                                                 ⁋34.
 17

 18                                              Objection: a document speaks for itself.
 19     3. In the PSA, Neman Brothers            Disputed.
 20   Neman Brothers agreed to give              Interfocus’ argument for “cure” is based on its
 21   InterFocus written notice of any future    own self-serving mischaracterization, and
 22   alleged infringement of intellectual       misstatement and/or omission of the relevant
 23   property, and allowed InterFocus           facts in evidence.
 24   seven business days thereafter to          In order to avoid putting extensive amount of

 25   “cure” it by removing the allegedly        facts in one box to dispute this, Neman Brothers
      infringed products from its platform.      presents the misstated and omitted Neman’s
 26
      PSA §5, Exs. 2 and 3, Dkt. Nos. 35-1,      additional facts (Fact No. 21-52) stated in
 27
      4 and 5.                                   Neman’s Statement of Controverted Facts
 28
                                        -35-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
          Interfocus’ Undisputed Fact                        Neman Brothers’ Response
  2
                                                 (Dkt 43-1). Instead of repeating the same lengthy
  3
                                                 statements in multiple pages, Plaintiff hereby
  4                                              incorporate them.
  5     5. InterFocus fully complied with        Disputed.
  6   all of its obligations under the PSA       Interfocus’ argument for “cure” is based on its
  7   following its execution. Motion Le         own self-serving mischaracterization, and
  8   Decl. ¶ 5.                                 misstatement and/or omission of the relevant
  9                                              facts in evidence.

 10                                              In order to avoid putting extensive amount of

 11                                              facts in one box to dispute this, Neman Brothers
                                                 presents the misstated and omitted Neman’s
 12
                                                 additional facts (Fact No. 21-52) stated in
 13
                                                 Neman’s Statement of Controverted Facts
 14
                                                 (Dkt 43-1). Instead of repeating the same lengthy
 15
                                                 statements in multiple pages, Plaintiff hereby
 16
                                                 incorporate them.
 17
        6. Neman Brothers dismissed its          Undisputed.
 18
      claims against InterFocus with
 19   prejudice in the Previous Action, as the
 20   PSA required it to do. PSA § 7, Exs. 2     Objection: irrelevant.
 21   and 3, Dkt. Nos. 35-1, 4 and 5;
 22   Previous Action Dkt. No. 19.
 23     7. As required by the Previous           Undisputed.
 24   Settlement Agreement, Neman

 25   Brothers sent InterFocus a letter

 26
      intended to constitute “Adequate
      Notification” under the PSA on or
 27
      about September 15, 2020 (the
 28
                                        -36-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
          Interfocus’ Undisputed Fact                       Neman Brothers’ Response
  2
      “September 15 letter”) Motion Le
  3
      Decl. ¶¶ 6, 8 and Exs. 1 and 4, Dkt.
  4   Nos. 35-1, 2 and 6
  5    8. The September 15 Letter alleged       Disputed.
  6   infringement of Neman Brothers’           The letter stated the infringements as below.
  7   alleged copyrights in the following six   “Our investigation has recently revealed your
  8   fabric patterns on the following          company, InterFocus, Inc. dba PatPat.com, is
  9   garments:                                 producing, manufacturing, distributing, and/or

 10                                             offering for sale garments (Exhibits 2, 4 and 5)

 11                                             which infringe our client’s copyrights in a two
                                                dimensional artworks, NB170268 (Exhibit 1) and
 12
                                                NB161106 (Exhibit 3) (“Subject Designs”).”
 13
                                                Interfocus Exhibit 4 (docket no. 35-5)
 14
                                                It further stated;
 15
                                                “under 17 U.S.C. § 504(c), your company may
 16
                                                be liable for statutory damages of up to
 17
                                                $150,000.00. In this present case, Interfocus was
 18                                             put on clear notices as to our client’s designs and
 19                                             copyrights because the two Subject Designs in
 20                                             this case were also litigated
 21                                             in the prior case. (Exhibits 6 and 7). However,
 22                                             Interfocus again sold the Accused Garments
 23                                             bearing the same designs thereupon, which

 24                                             establishes Interfocus’

 25                                             reckless/intentional/knowing disregards of our
                      Motion Le Decl. ¶ 8,
                                                client’s designs and copyrights, sufficiently
 26   and Exs. 1 and 4, Dkt. Nos. 35-1, 2
                                                supporting claims for willful infringement.”
 27   and 6.
                                                Interfocus Exhibit 4 (docket no. 35-5)
 28
                                        -37-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
          Interfocus’ Undisputed Fact                       Neman Brothers’ Response
  2

  3

  4                                             Objection:
  5                                             a document speaks for itself.
  6                                             Misstating the contents of the letter at issue.
  7    9. After receiving the September 15      Disputed.
  8   Letter, InterFocus immediately            Interfocus never produced any real evidence
  9   launched an investigation into Neman      supporting the statement.

 10   Brothers’ claims in compliance with its

 11   obligations Motion Le Decl. ¶ 7, Dkt.     Objection.
      No. 35-1.                                 Lack of foundation
 12
        9. In investigating Neman Brothers’     Disputed.
 13
      claims in the September 2015 Letter,      Interfocus’ letter on October 5, 2020 admits the
 14
      discovered that it had already removed    garments were not removed until September 16-
 15
      from its platform three of the alleged    17, 2020. Ex. 33.
 16
      infringements Neman Brothers’ letter
 17
      complained of before it entered into
 18
      the Previous Settlement Agreement as      Objection.
 19   follows:                                  A document speaks for itself.
 20                                             Misstating the facts in the evidence.
 21

 22

 23

 24

 25

 26

 27
                     Motion Le Decl. ¶ 10,
 28
                                        -38-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
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  1
             Interfocus’ Undisputed Fact                 Neman Brothers’ Response
  2
      Dkt. No. 35-1; Opposition Le Decl. ¶
  3
      4.
  4        10. In response to the September    Undisputed.
  5   2015 Letter, InterFocus also removed
  6   from its platform the other three
  7   alleged infringements within seven
  8   business days of receiving the
  9   September 15,

 10   Letter as follows:

 11

 12

 13

 14

 15

 16

 17

 18                   Motion Le Decl. ¶¶11-
 19   12, Dkt. No 35-1.

 20        11. Neman Brothers filed its        Undisputed.

 21   original complaint herein on December
      9, 2020. Dkt. No. 1.
 22
           12. Neman Brothers’ complaint       Objection.
 23
      repeated the allegations of the          A document speaks for itself.
 24
      September 15 letter and Previous
 25
      Action regarding those three released
 26
      and three cured alleged infringements.
 27
      Cf. Dkt. No.1 Exs. 1-6 and September
 28
                                        -39-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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                                 #:1003



  1
          Interfocus’ Undisputed Fact                     Neman Brothers’ Response
  2
      15 letter Ex. 1, concurrently filed as
  3
      Ex. 4; Le Decl. ¶ 15.
  4     13. Neman Brothers filed a First       Undisputed.
  5   Amended Complaint on January 5,
  6   2021. Cf. Dkt. No. 10.
  7     14. Neman Brothers’ First Amended      Disputed
  8   Complaint added new copyright            In the course of the negotiations, Neman
  9   infringement claims about which it       Brothers in good faith tried to settlement the

 10   never sent InterFocus a written notice   matters by even combining it with a licensing. It

 11   of alleged infringements. Cf. Dkt. Nos even emailed multiple designs and its copyright
      1 and 10; Motion Le Decl. ¶ 16, Dkt.     registrations for Interfocus’ review. Jeong
 12
      No. 35-1.                                Decl.⁋28. However, in the end, after wasting two
 13
                                               months until November 2020, Interfocus refused
 14
                                               to sign the settlement with no explanation. The
 15
                                               above made it clear Interfocus was playing only a
 16
                                               delay game with no good faith efforts to settle,
 17
                                               and would do the same even if Neman Brothers
 18
                                               starts over with the issue of the Infringing
 19                                            Garment 3, which would be nothing but a waste
 20                                            of time only to repeat the same discussion that
 21                                            Interfocus frustrated. It forms a material breach
 22                                            as to the Infringing Garments 1 and 2, and a
 23                                            repudiation as to the Infringing Garment 3.
 24                                            Infringing Garment 3 was found in October

 25                                            2021, and was discussed and agreed to be
                                               covered by Section 8 (Mutual Release) of the
 26
                                               final draft of the subsequent settlement which
 27
                                               specified the release to be given to Interfocus to
 28
                                        -40-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
          Interfocus’ Undisputed Fact               Neman Brothers’ Response
  2
                                         the extent it relates to the past sale of the
  3
                                         garments through the Website on or before the
  4                                      Effective Date, which was defined to be the full
  5                                      execution date in November 2020. Jeong Decl.
  6                                      ⁋30; Exhibit 37.
  7                                      As Interfocus complained of it, Neman Brothers’
  8                                      counsel offered to voluntarily dismiss without
  9                                      prejudice the claim on the Infringing Garment 3

 10                                      and start over the procedure under Sections 5 and

 11
                                         6 as to the Infringing Garment 3, but Interfocus
                                         also refused to do so. On February 2, 2021, when
 12
                                         Mr. Mark Lee contacted Mr. Jeong for the first
 13
                                         time to request a stipulation to extend the due
 14
                                         date to file the answer, and until the time of filing
 15
                                         the answer and the counterclaim on February 19,
 16
                                         2020 (Dockets 17 and 18), Mr. Lee never
 17
                                         attempted to confer on the issue of Infringing
 18                                      Garment 3. Jeong Decl. ⁋31. After filing the
 19                                      pleadings, Mr. Lee refused to stipulate to the
 20                                      dismissal of the related claim without prejudice.
 21                                      Jeong Decl. ⁋31.
 22                                      The above shows Neman Brothers was justified
 23                                      in not repeating the same procedure under

 24                                      Sections 5 and 6, which Interfocus already

 25                                      frustrated. In fact, Interfocus breached Sections 5
                                         and 6 by refusing to separately negotiate the
 26
                                         settlement on the Infringing Garment 3 when
 27
                                         Neman Brothers offered to do so. It also forms a
 28
                                        -41-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
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  1
          Interfocus’ Undisputed Fact                     Neman Brothers’ Response
  2
                                              failure to reasonably mitigate the damages even
  3
                                              if any.
  4

  5                                           Objection.
  6                                           A document speaks for itself.
  7   15. Although it never received an       Disputed.
  8   “Adequate Notification” regarding the   Same as the response to paragraph 14
  9   copyright infringement claims added     hereinabove.

 10   in its amended complaint, InterFocus

 11   removed these new alleged
      infringements from its platform as
 12
      permitted by the “notice and cure”
 13
      provision of the PSA.
 14

 15

 16 Dated: August 8, 2021                           RESPECTULLY SUBMITTED,
 17
                                                    Respectfully submitted,

 18                                                _/s/Chan Yong Jeong______
 19                                                 Chan Yong Jeong, Esq.
                                                    Attorney for Plaintiff
 20

 21

 22

 23

 24

 25

 26

 27

 28
                                        -42-
      NEMAN BROTHERS & ASSOC., INC.’S RESPONSE TO INTERFOCUS’ STATEMENTS OF
                     DISPUTED FACTS AND ADDITIONAL FACTS
